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                               1    Brent Dorian Brehm – SBN 248983
                                     E-mail: bbrehm@kantorlaw.net
                               2    Glenn R. Kantor – SBN 122643
                                     E-mail: gkantor@kantorlaw.net
                               3    KANTOR & KANTOR LLP
                                    19839 Nordhoff Street
                               4    Northridge, California 91324
                                    Telephone: (818) 886 2525
                               5    Facsimile: (818) 350 6272
                               6    Attorneys for Plaintiff,
                                    YOLANDA SANCHEZ
                               7
                               8                          UNITED STATES DISTRICT COURT
                               9                        CENTRAL DISTRICT OF CALIFORNIA
                               10   YOLANDA SANCHEZ,                               Case No.:
                               11                       Plaintiff,                 COMPLAINT FOR DAMAGES
                               12          v.                                      (1) BREACH OF CONTRACT
Northridge, California 91324




                               13
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                                    LIFE INSURANCE COMPANY OF                      (2) BREACH OF THE IMPLIED
  19839 Nordhoff Street




                                    NORTH AMERICA,                                     COVENANT OF GOOD
       (818) 886 2525




                               14                                                      FAITH AND FAIR DEALING
                                                        Defendant.
                               15                                                  DEMAND FOR JURY TRIAL
                               16
                               17
                               18         Plaintiff, Yolanda Sanchez, herein sets forth the allegations of her Complaint
                               19   against Defendant Life Insurance Company of North America.
                               20                            PRELIMINARY ALLEGATIONS
                               21         1.     Jurisdiction is based on diversity of citizenship pursuant to 28 U.S.C.
                               22   § 1332. The amount in controversy, exclusive of interest and costs, exceeds the sum
                               23   of $75,000.00.
                               24         2.     Plaintiff is informed and believes that Defendant Life Insurance
                               25   Company of North America (hereinafter “LINA”) is a corporation incorporated in,
                               26   and with its principle place of business in, the State of Massachusetts, authorized to
                               27   transact and transacting business in the Central District of California and can be
                               28   found in the Central District of California.
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                               1           3.     Plaintiff Yolanda Sanchez is a resident and citizen of the City of
                               2    Bakersfield, State of California. On or after January 1, 2012, LINA issued or
                               3    renewed a group policy of Long Term Disability Benefits to the Kern Community
                               4    College District. The Group Policy, LK0960994, was intended to insure and fund
                               5    the Kern Community College District Disability Insurance Plan (“Disability Plan”)
                               6    afforded by the College District to certain employees of the Community College.
                               7    Plaintiff was afforded disability coverage under the terms of the Disability Plan. The
                               8    contract which is the subject of this action was administered in this Judicial District,
                               9    and the breach occurred in this district, thus Venue is proper in this Court based
                               10   upon 28 U.S.C. § 1391(a).
                               11                FIRST CLAIM FOR RELIEF AGAINST DEFENDANT
                               12               LIFE INSURANCE COMPANY OF NORTH AMERICA
Northridge, California 91324




                               13                             FOR BREACH OF CONTRACT
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                               14          4.     Plaintiff incorporates by reference all preceding paragraphs as though
                               15   set fully forth herein.
                               16          5.     All premiums due to maintain Plaintiff’s coverage in full force and
                               17   effect under the Policy have been paid. At all relevant times, Plaintiff has performed
                               18   all obligations under the Policy on her part to be performed.
                               19          6.     On or before June 27, 2014, Plaintiff suffered a loss compensable under
                               20   the terms of the Policy in that she was unable to perform all of the material duties of
                               21   her occupation as a department assistant, and such inability required her to take a
                               22   disability leave.
                               23          7.     Thereafter, in a timely fashion, the Plaintiff submitted a long term
                               24   disability claim to LINA. LINA assigned it the incident number 3530058 and
                               25   approved Plaintiff’s claim after evaluating the medical evidence. In a letter dated
                               26   August 31, 2016, LINA stated it had completed another review of Plaintiff’s claim
                               27   and determined she continued to be entitled to disability benefits under the Policy.
                               28   This finding was based on Plaintiff’s inability to perform any reasonable occupation.
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                                                                        COMPLAINT
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                               1             8.     In a letter dated May 24, 2017, LINA denied Plaintiff’s claim. Plaintiff
                               2    appealed the termination decision and submitted evidence of both her continued
                               3    disabling medical condition and her inability to perform her regular occupation.
                               4    Subsequently she provided LINA with over 2,400 pages of documents supporting
                               5    her continued disability – including a recording of the hearing before, and findings
                               6    of, an Administrative Law Judge who found Plaintiff disabled from any reasonable
                               7    occupation.
                               8             9.     Despite the opportunity to reverse its erroneous decision to terminate
                               9    benefits and correctly administer the claim, LINA failed to respond.
                               10            10.    As a direct and proximate result of LINA’s improper determination
                               11   regarding Plaintiff’s disability claim, Plaintiff has been deprived of the right to
                               12   obtain benefits under the terms of the Policy.
Northridge, California 91324




                               13            11.    LINA’s conduct constitutes a breach of the insurance contract between
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                               14   LINA and Plaintiff. As a direct and proximate result of LINA’s breach of the Policy,
                               15   Plaintiff has suffered contractual damages under the terms and conditions of the
                               16   Policy that will continue, plus interest and other incidental damages and out-of-
                               17   pocket expenses, all in the sum to be determined according to proof at the time of
                               18   trial.
                               19                  SECOND CLAIM FOR RELIEF AGAINST DEFENDANT
                               20                  LINAINSURANCE COMPANY FOR BREACH OF THE
                               21            IMPLIED COVENANT OF GOOD FAITH AND FAIR DEALING
                               22            12.    Plaintiff incorporates by reference all preceding paragraphs as though
                               23   set fully forth herein.
                               24            13.    LINA has breached its duty of good faith and fair dealing owed to
                               25   Plaintiff in the following respects:
                               26                   (a)   Unreasonably withholding benefits from Plaintiff in bad faith at
                               27   a time when LINA knew Plaintiff was entitled to said full benefits under the Policy;
                               28
                                                                               3
                                                                           COMPLAINT
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                               1                 (b)     Unreasonably and in bad faith failing to provide a prompt and
                               2    reasonable explanation of the basis relied on under the terms of the Policy when
                               3    advising Plaintiff that she was not entitled to further benefits and again, when it
                               4    failed to respond to Plaintiff’s submission of additional information;
                               5                 (c)     Unreasonably delaying payments to Plaintiff in bad faith
                               6    knowing Plaintiff’s claim for benefits under the Policy was valid;
                               7                 (d)     Unreasonably failing to properly and objectively investigate
                               8    Plaintiff’s claim;
                               9                 (e)     Intentionally and unreasonably applying pertinent policy
                               10   provisions inconsistent with California law, so as to limit LINA’s financial exposure
                               11   and contractual obligations and to maximize its own profits; and
                               12                (f)     Unreasonably compelling Plaintiff to institute litigation to
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                               13   recover amounts due under the policy in an effort to further discourage Plaintiff
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                               14   from pursuing her full policy benefits.
                               15         14.    Plaintiff is informed and believes and thereon alleges that LINA has
                               16   breached its duties of good faith and fair dealing owed to Plaintiff by other acts or
                               17   omissions of which Plaintiff is presently unaware. Plaintiff will amend this
                               18   Complaint at such time as Plaintiff discovers these other acts or omissions.
                               19         15.    As a proximate result of the aforementioned wrongful conduct of
                               20   LINA, Plaintiff has suffered, and will continue to suffer in the future, damages
                               21   under the Policy, plus interest, for a total amount to be shown at the time of trial.
                               22         16.    As a further proximate result of the aforementioned wrongful conduct
                               23   of LINA, Plaintiff has suffered anxiety, worry, mental and emotional distress, and
                               24   other incidental damages and out-of-pocket expenses, all to Plaintiff’s general
                               25   damage in a sum to be determined at the time of trial.
                               26         17.    As a further proximate result of the aforementioned wrongful conduct
                               27   of LINA, Plaintiff was compelled to retain legal counsel to obtain the benefits due
                               28   under the Policy. Therefore, LINA is liable to Plaintiff for those attorneys’ fees
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                                                                        COMPLAINT
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                               1    reasonably necessary and incurred by Plaintiff to obtain Policy benefits in a sum to
                               2    be determined at the time of trial.
                               3          18.    LINA’s conduct described herein was intended by LINA to cause
                               4    injury to Plaintiff, was despicable conduct carried on by LINA with a willful and
                               5    conscious disregard of the rights of Plaintiff, subjected Plaintiff to cruel and unjust
                               6    hardship in conscious disregard of her rights, and was an intentional
                               7    misrepresentation, deceit, or concealment of a material fact known to LINA with the
                               8    intention to deprive Plaintiff of property and/or legal rights or to otherwise cause
                               9    injury, such as to constitute malice, oppression, or fraud under California Civil Code
                               10   § 3294, thereby entitling Plaintiff to punitive damages in an amount appropriate to
                               11   punish or set an example of LINA.
                               12         19.    LINA’s conduct in wrongfully denying LTD benefits to Plaintiff was
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                               13   an unfair act and practice which caused Plaintiff to suffer a loss of income, a
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                               14   substantial loss of property set aside for personal care and maintenance, and assets
                               15   essential to her health and welfare. Plaintiff is a disabled person within the meaning
                               16   of California Civil Code § 3345, and as a consequence of LINA’s wrongful actions
                               17   herein, Plaintiff is entitled to a trebling of any damages imposed by the trier of fact
                               18   pursuant to California Civil Code § 3294.
                               19                                 REQUEST FOR RELIEF
                               20         WHEREFORE, Plaintiff prays for judgment against LINA as follows:
                               21         1.     Damages for failure to provide full benefits under the Policy for past,
                               22   present, and future benefits, in an amount to be determined at the time of trial but in
                               23   excess of $180,000.00, plus interest, including prejudgment interest;
                               24         2.     General damages for mental and emotional distress and other incidental
                               25   damages in the sum of $2,000,000.00;
                               26         3.     Punitive and exemplary damages in an amount in excess of
                               27   $4,000,000.00;
                               28
                                                                              5
                                                                          COMPLAINT
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                               1          4.     A trebling of any punitive damages pursuant to California Civil Code
                               2    § 3345;
                               3          5.     Attorneys’ fees reasonably incurred to obtain Policy benefits in a sum
                               4    to be determined at the time of trial;
                               5          6.     Costs of suit incurred herein; and
                               6          7.     Such other and further relief as the Court deems just and proper.
                               7
                               8    DATED: January 26, 2018                      KANTOR & KANTOR, LLP
                               9
                               10                                                By:    /s/ Brent Dorian Brehm
                                                                                        Brent Dorian Brehm
                               11                                                       Attorneys for Plaintiff
                               12                                                       YOLANDA SANCHEZ
Northridge, California 91324




                               13                              DEMAND FOR JURY TRIAL
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                               14         Plaintiff hereby demands a trial by jury.
                               15
                               16   DATED: January 26, 2018                      KANTOR & KANTOR, LLP
                               17
                               18                                                By:    /s/ Brent Dorian Brehm
                                                                                        Brent Dorian Brehm
                               19
                                                                                        Attorneys for Plaintiff
                               20                                                       YOLANDA SANCHEZ
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                                                                        COMPLAINT
